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                      IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF ARKANSAS
                                LITTLE ROCK DIVISION


RE:    BOBBY R. JACKSON and                                     CASE NO: 4:12-bk-12109 T/B
       SHARON R. JACKSON, Debtors                               Chapter 13


             MOTION TO SHORTEN LENGTH OF TIME FOR RESPONDING
          TO DEBTORS’ AMENDED MOTION FOR ORDER REOPENING CASE


       Debtors, Bobby & Sharon Jackson, by and through their attorney, hereby request this

Court to shorten the length of time for responding to debtors’ Motion for Ordering Reopening

Case to Pursue the Completion of the Financial Management Requirement and to Receive

the Benefits of a Discharge for the following reasons:

       1. Debtors filed for relief under Chapter 13 of the United States Bankruptcy Code on

April 9, 2012.

       2. On February 6, 2018, debtors filed a Motion for Order Reopening Case to Pursue

the Completion of the Financial Management Requirement and to Receive the Benefits of a

Discharge.

       3. Debtors request that any responses or objections to the motion be filed within ten

(10) days as opposed to twenty-one (21) days to avoid creditor collection activities.

       WHEREFORE, the debtors request that this motion be granted, that the requirement

of responding or objecting to Debtors’ Motion for Order Reopening Case be set at ten (10)

days, and for any other relief to which they may be entitled.

DATED: February 7, 2018

                                                           Respectfully submitted,


                                                            /s/ Robert R. Danecki
                                                           Robert R. Danecki (92105)
                                                           DANECKI LAW FIRM, PLC
                                                           Attorney for Debtor(s)
                                                           P.O. Box 1938
                                                           Little Rock, AR 72203
                                                           (501) 371-0002
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                              CERTIFICATE OF SERVICE

       I, Robert R. Danecki, do hereby certify that a copy of the foregoing has been
provided to:

Joyce B. Babin
Chapter 13 Trustee
P.O. Box 8064
Little Rock, AR 72203

and to all creditors appearing on the debtors’ matrix by electronic notification and/or
U.S. Mail, postage prepaid, on this 7 th day of February, 2018.


                                                               /s/ Robert R. Danecki
                                                               Robert R. Danecki
